                     Case 1:17-cr-00527-JPO Document 94 Filed 11/02/20 Page 1 of 1
                                                      LAW OFFICES OF
                                              STEPHEN TURANO
                                                          ______

                                                   sturano@turanolaw.com

275 MADISON AVENUE                                                                                60 PARK PLACE
35TH FLOOR                                                                                              SUITE 703
NEW YORK, NY 10016                                                                              NEWARK, NJ 07102
       _____                                                                                          ______

TEL (917) 974-1781                                                                              TEL (973) 648-6777
FAX (212) 208-2981                                                                              FAX (212) 208-2981
                                                                                                      ______

                                                                                     REPLY TO NEW JERSEY OFFICE


                                                    August 22, 2020

        Hon. J. Paul Oetken, U.S.D.J.
        United States District Court, SDNY
        Thurgood Marshall U.S. Courthouse
        40 Foley Square
        New York, NY 10007

                 Re:     United States v. Angel Cruz-Tineo
                         Docket No.: 17-cr.-527 (JPO)

        Dear Judge Oetken:

                As Your Honor is aware, I represented Angel Cruz-Tineo in violation of probation on the
        above-referenced matter, having been appointed pursuant to the provisions of the Criminal
        Justice Act (“CJA”), 18 U.S.C. § 3006A. Mr. Cruz-Tineo was sentenced by the Court on
        January 24, 2020.

                I write to respectfully request that I be re-appointed nunc pro tunc to March 25, 2020, so
        that I may submit a CJA voucher for the work performed in connection with Mr. Cruz-Tineo’s
        submissions to both the Bureau of Prisons and the Court for compassionate release. See, e.g.,
        ECF #s 83 and 88.

                 I thank the Court for its attention to this matter.

         Granted.
         CJA Attorney Stephen J. Turano is hereby
         reappointed as counsel for defendant, Nunc Pro                    Respectfully,
         Tunc 3/25/2020 and may submit a CJA voucher for
         his work as indicated herein.                                     /s/ Stephen Turano
           So Ordered.
           Nov. 2, 2020                                                    Stephen Turano


        cc: All Parties (via ECF)
